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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

UNITED STATES FOR THE USE
AND BENEFIT OF PHOENIX
METALS COMPANY, a foreign
corporation

             Plaintiff,

v.                                        Case No.: 2:20-cv-148-FtM-38NPM

WORTHFAB, LLC,

              Defendant.
                                          /

                              OPINION AND ORDER1

       Before the Court is United States Magistrate Judge Nicholas P. Mizell’s

Report and Recommendation. (Doc. 31). Judge Mizell recommends granting

Plaintiff’s Renewed Motion for Default Judgment Against Defendant

Worthfab, LLC. Neither party objects to the Report and Recommendation, and

the time to do so has expired.

       A district judge “may accept, reject, or modify in whole or in part, the

findings or recommendations made by the magistrate judge.”                      28 U.S.C.

§ 636(b)(1). The district judge “shall make a de novo determination of those



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portions of the report or specified proposed findings or recommendations to

which objection is made.”      Id.   And “[t]he judge may also receive further

evidence or recommit the matter to the magistrate judge with instructions.”

Id.

      After examining the file independently and upon considering Judge

Mizell’s findings and recommendations, the Court accepts and adopts the

Report and Recommendation.

      Accordingly, it is now

      ORDERED:

      (1) The Report and Recommendation (Doc. 31) is ACCEPTED and

         ADOPTED and the findings incorporated herein.

      (2) Plaintiff’s Renewed Motion for Default Judgment Against Defendant

         Worthfab LLC (Doc. 30) is GRANTED.

      (3) The Clerk is DIRECTED to enter a default judgment on Count II

         (breach of contract) against ] Worthfab, LLC for $6,973.81, plus post-

         judgment interest accruing at the legal rate established by 28

         U.S.C. § 1961, and costs to be taxed in the amount of $625.00.

      (4) The Clerk is further DIRECTED to terminate any deadlines and

         close the file.




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      DONE and ORDERED in Fort Myers, Florida on November 2, 2020.




Copies: All Parties of Record




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